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                                                                          7                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   CAROLYN JEWEL, ET AL.,
                                                                         11                  Plaintiffs,                               No. C 08-04373 JSW
United States District Court
                               For the Northern District of California




                                                                         12     v.
                                                                         13   NATIONAL SECURITY AGENCY, ET AL.,                        JUDGMENT
                                                                         14                  Defendants.
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                                                                         16          Pursuant to the Court’s Order granting the motion for summary judgment filed by
                                                                         17   Defendants National Security Agency, United States, Department of Justice, Paul M. Nakasone,
                                                                         18   Donald J. Trump, William Barr, and Daniel Coats, in their official capacities (collectively,
                                                                         19   “Defendants”) and DENYING the cross-motion to proceed to resolution on the merits filed by
                                                                         20   Plaintiffs Carolyn Jewel, Tash Hapting, Young Boon Hicks, as executrix of the estate of
                                                                         21   Gregory Hicks, Erik Knutzen, and Joice Walton, on behalf of themselves and all other
                                                                         22   individuals similarly situated (“Plaintiffs”) it is HEREBY ORDERED AND ADJUDGED that
                                                                         23   judgment is entered in favor of Defendants and against Plaintiffs.
                                                                         24          IT IS SO ORDERED.
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                                                                         26   Dated: April 25, 2019
                                                                                                                                       JEFFREY S. WHITE
                                                                         27                                                            UNITED STATES DISTRICT JUDGE
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